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                                 (pro hac vice application to be filed)
                            10
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ADVANCING LAW FOR ANIMALS




                                                             UNITED STATES DISTRICT COURT
                            12
                                                            EASTERN DISTRICT OF CALIFORNIA
                            13                                    SACRAMENTO DIVISION
                            14

                            15   E.L., a minor, by and through her general     Case No. 2:22-cv-01527-DAD-AC
                                 guardian, JESSICA LONG; JESSICA LONG, an
                            16   individual,                                   NOTICE OF MOTION AND MOTION TO
                                                 Plaintiffs,                   MODIFY THE COURT ORDER RE MINOR’S
                            17            v.                                   COMPROMISE (ECF No. 113)
                            18   LIEUTENANT JERRY FERNANDEZ, in his
                                 individual capacity; DETECTIVE JACOB          [Supporting Declarations of Jessica Long, Ryan
                            19   DUNCAN, in his individual capacity;           Gordon, and Bryce Maxwell filed concurrently]
                                 DETECTIVE JEREMY ASHBEE, in his
                            20   individual capacity; SHASTA DISTRICT FAIR Date: March 11, 2025
                                 AND EVENT CENTER, a district agricultural     Time: 1:30 pm
                            21
                                 association; COUNTY OF SHASTA; SHASTA Courtroom: 4, 15th Floor
                            22   COUNTY SHERIFF’S DEPARTMENT;
                                 MELANIE SILVA, in her individual and official Trial Date: TBD
                            23   capacity; BJ MACFARLANE, in his individual
                                 and official capacity; KATHIE MUSE, in her    Action Filed: August 31, 2022
                            24   individual and official capacity, and DOES 1
                                 through 10,
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                                                                               i
                                                     PLAINTIFFS’ MOTION TO MODIFY COURT ORDER (ECF No. 113)
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                            1    TO THE COURT, THE PARTIES, AND TO THEIR ATTORNEYS OF RECORD:

                            2           PLEASE TAKE NOTICE that on Tuesday, March 11, 2025, at 1:30 pm in Courtroom 4 of the

                            3    United States District Court for the Eastern District of California, located on the 15th Floor in the

                            4    Robert T. Matsui United States Courthouse, 501 I Street, Sacramento, CA 95814, Plaintiff E.L. will

                            5    and does move this Court, pursuant to Federal Rules of Civil Procedure, Rule 60, to amend or modify

                            6    its prior court order which restricts E.L. from investing her settlement funds. ECF No. 113, 6:16-18.

                            7    While restricting E.L.’s (and anyone’s) access to the funds was the spirit of the order E.L. requested

                            8    (ECF No. 110), the Court’s actual order technically limits E.L.’s ability to invest and grow the funds

                            9    until she reaches adulthood. She now moves the Court for a minor modification to the prior court order

                            10   to allow investment of her funds into the specific annuity her and her family contemplated, referenced

                            11   in Exhibit A to the Declaration of Bryce Maxwell (“Maxwell Decl.”). Such funds will continue to be
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                            12   protected for her, and segregated from anyone, with a reputable company until E.L. reaches eighteen

                            13   years of age, and her funds are projected to grow in value far more than they would otherwise. The

                            14   Court has authority to issue this modification, and it should do so in the best interest of the minor, E.L.

                            15          This Motion is based upon this notice of motion, this memorandum, and the concurrently filed

                            16   declarations of Jessica Long, Ryan Gordon, and Bryce Maxwell.

                            17          Counsel for Plaintiffs certify the parties engaged in pre-filing meet and confer efforts.

                            18   Correspondence exchanged in furtherance of these efforts is reflected in the concurrently-filed

                            19   Declaration of Ryan Gordon.
                            20

                            21                                                  ADVANCING LAW FOR ANIMALS
                            22
                                 Dated: February 6, 2025                        By:    /s/ Vanessa Shakib
                            23                                                  Ryan Gordon
                                                                                Vanessa Shakib
                            24                                                  Attorneys for Plaintiffs
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                            1                             MEMORANDUM OF POINTS AND AUTHORITIES

                            2    I.     INTRODUCTION

                            3           As this Court knows, it recently approved a partial settlement of minor Plaintiff E.L.’s claims.

                            4    See ECF No. 113. To maximize the benefit of her settlement, her family and an outside firm specializing

                            5    in settlement management created the Long Family Settlement Trust (the “Trust”), a Qualified Settlement

                            6    Fund under 26 C.F.R. § 1.468B-1(c) of the Treasury Regulations promulgated under Section 468B of the

                            7    Internal Revenue Code of 1986. The plan was to deliver E.L.’s funds to the Trust, then use those funds

                            8    to establish an annuity for E.L.’s benefit at Independent Life Insurance Company, which would safely

                            9    grow her funds over time.

                            10          E.L.’s motion, however, failed to specify the annuity requested. Instead, her motion requested

                            11   that this Court allow her settlement funds be delivered into the Trust where they would be “held,
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                            12   segregated, managed, and invested on E.L.’s behalf” until she reaches eighteen (18). See ECF No. 110 at

                            13   10:16-17. Perhaps due to the motion’s heavy focus on keeping E.L.’s funds safe until adulthood,

                            14   compared to the motion’s more minor focus on investing the funds, the resulting court order contained

                            15   the following limitation: “No withdrawals shall be made from the Trust Account, except by plaintiff E.L.

                            16   when she reaches the age of eighteen (18) and is granted access to the Trust Account at that time.” ECF

                            17   No. 113, 6:16-18. While restricting E.L.’s (and anyone’s) access to the funds was the spirit of the order

                            18   E.L. requested, the Court’s actual order technically limits E.L.’s ability to invest and grow the funds until

                            19   she reaches adulthood. She now moves the Court for a minor modification to the prior court order to
                            20   allow investment of her funds into the annuity her and her family contemplated, referenced in Exhibit A

                            21   to the Declaration of Bryce Maxwell (“Maxwell Decl.”).

                            22          The proposed annuity is safe, guaranteed, insured, and reinsured by respectable insurance

                            23   companies referenced below. Further, her $65,000 in settlement proceeds will actually grow for her

                            24   benefit until she reaches adulthood, reaching a projected range of approximately $92,000 to $110,000 at

                            25   the time of disbursement when she is 18. Whereas, if those funds must remain in the Long Family

                            26   Settlement Trust, they will stagnate and cannot be invested until she turns 18, as ECF No. 113 prohibits
                            27   withdrawals, foreclosing investments in the interim. No party is prejudiced by the order now sought, nor

                            28   has E.L. unreasonably delayed in seeking the instant order.
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                            1    II.       RELEVANT FACTS

                            2              Plaintiffs filed this action on August 31, 2022, asserting § 1983 claims against Lieutenant Jerry

                            3    Fernandez, Detective Jeremy Ashbee, Detective Jacob Duncan, the County of Shasta, and the Shasta

                            4    County Sheriff’s Department (collectively, the “County Defendants”). Plaintiffs later amended their

                            5    complaint to include supplemental state claims against the County Defendants as well as join additional

                            6    Defendants, the Shasta District Fair and Event Center, Mr. B.J. Macfarlane, Ms. Melanie Silva, and Mrs.

                            7    Kathie Muse (those additional defendants are referred to as the “Remaining Defendants”).

                            8              After extensive litigation, Plaintiffs and County Defendants reached, and notified the Court, of

                            9    settlement on August 28, 2024. ECF No. 105. Plaintiffs’ case, however, proceeds against the Remaining

                            10   Defendants who were not parties to the settlement.1

                            11             Because Plaintiffs’ settlement with the County Defendants involved a minor, Plaintiffs filed a
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                            12   motion to approve a minor’s compromise in compliance with Local Rule 202(b) on September 27, 2024.

                            13   ECF No. 110. Consistent with the purpose of Local Rule 202(b) and for minor’s compromises generally,

                            14   Plaintiffs goal was to protect and grow E.L.’s settlement funds. To that end, Mrs. Long, as mother and

                            15   guardian ad litem, and with the help of separate attorneys who specialize in managing litigation

                            16   settlements, created the Long Family Settlement Trust (the “Trust”), a Qualified Settlement Fund under

                            17   26 C.F.R. § 1.468B-1(c) of the Treasury Regulations promulgated under Section 468B of the Internal

                            18   Revenue Code of 1986, and established by the Eastern Point Trust Company. Mrs. Long’s declaration in

                            19   support of the motion for minor’s compromise, in fact, stated that Plaintiffs sought permission to place
                            20   E.L.’s net settlement proceeds from the County Defendants in that Trust, to be “held, segregated,

                            21   managed, and invested” on E.L.’s behalf, “with no distribution or benefits to anyone, except E.L. when

                            22   she reaches eighteen (18) and is granted access at that time.” See ECF No. 110-3, at ¶ 14 (emphasis

                            23   added).

                            24             The Court granted Plaintiffs’ motion on October 31, 2024. In relevant part, the order states “No

                            25   withdrawals shall be made from the Trust Account, except by plaintiff E.L. when she reaches the age of

                            26   eighteen (18) and is granted access to the Trust Account at that time.” ECF No. 113 at 6:16-18.
                            27             Following approval of the order, and consistent with the Long Family’s goals to grow and

                            28   1         Plaintiffs also asserted separate causes of action against Remaining Defendants.
                                                                                 2
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                            1    preserve the funds for their daughter, E.L., they and their outside settlement counsel sought to invest the

                            2    funds into an annuity for E.L. issued by Independent Life Insurance Company. See concurrently filed

                            3    Declaration of Jessica Lon (”Long Decl”). That proposed annuity would grow the principal for E.L. and

                            4    guarantee certain payouts once she turned 18. However, because the Court’s order in ECF No. 113 states

                            5    “No withdrawals shall be made from the Trust Account…,” Plaintiffs and E.L. are unable to take

                            6    advantage of the guaranteed annuity for E.L. from Independent Life Insurance Company.

                            7           Accordingly, Plaintiffs now move for a slight modification to prior court order to allow

                            8    investment of E.L.’s funds into the proposed annuity, referenced in Exhibit A to the concurrently filed

                            9    Declaration of Bryce Maxwell (“Maxwell Decl”). Such an order is in the best interests of E.L., as her

                            10   funds will grow and be distributed via guaranteed payouts over time once she passes 18. Whereas,

                            11   keeping the funds uninvested in a settlement trust until she is 18, where interest is not accruing, would
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                            12   only devalue her recovery.

                            13   III.   LEGAL STANDARD

                            14          Under Federal Rule of Civil Procedure 60(b)(1), the court may relieve a party from an order for

                            15   reason of “mistake, inadvertence, surprise, or excusable neglect.” “Neglect” includes both blameless

                            16   failure to act and careless omissions. Robb v. Norfolk & Western Ry. Co. 122 F3d 354, 359 (7th Cir.

                            17   1997). The factors a court must consider in amending an order are (1) possibility of prejudice to the

                            18   opposing party; (2) the length of delay; (3) the reason for delay; and (4) whether the moving party acted

                            19   in good faith. See Laurino v. Syringa General Hosp., 279 F3d 750, 753 (9th Cir. 2002).
                            20          Additionally, as this motion seeks to amend an order issued related to a minor’s compromise, the

                            21   court must “assure itself that the minor's interests are protected ... even if the settlement has been

                            22   recommended or negotiated by the minor's parent or guardian ad litem.” Salmeron v. United States, 724

                            23   F.2d 1357, 1363 (9th Cir.1983).

                            24   IV.    THE COURT SHOULD MODIFY ECF NO. 113 AND ALLOW E.L.’S SETTLEMENT TO

                            25          FUND THE PROPOSED ANNUITY AS FRCP RULE 60(b)(1) IS SATISFIED

                            26                  A.      E.L. Requests That The Court Grant The Long Family Settlement Trust
                            27                          Permission To Fund An Annuity For Her Using Her Settlement Proceeds

                            28          E.L.’s portion of the Plaintiffs’ settlement with the County Defendants was approved by this
                                                                                3
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                            1    Court. The total amount approved to E.L. was $65,000. As directed by this Court’s order, ECF No. 113,

                            2    that money was paid to the Long Family Settlement Trust, a Qualified Settlement Fund under 26 C.F.R.

                            3    § 1.468B-1(c) of the Treasury Regulations. By this motion, E.L. seeks permission from this Court to

                            4    allow the Long Family Settlement Trust to use that $65,000 to fund an annuity policy from Independent

                            5    Life Insurance Company. The annuity E.L. seeks to fund is referenced in Exhibit A to the concurrently

                            6    filed Declaration of Bryce Maxwell.

                            7                   B.     E.L.’s Motion To Approve Her Settlement Neglected To Reference The

                            8                          Annuity Plaintiffs Sought To Fund For Her Benefit

                            9           E.L.’s Notice of Motion for Approve Settlement of A Minor’s Claim asked that her funds be

                            10   “secured and invested on E.L.’s behalf through the Long Family Settlement Trust, a Qualified Settlement

                            11   Fund under 26 C.F.R. § 1.468B-1(c) of the Treasury Regulations promulgated under Section 468B of the
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                            12   Internal Revenue Code of 1986.” ECF 110, ii:9-12. Her motion itself proposed that the “settlement would

                            13   be exclusively preserved and grown for the benefit E.L., [in] the Long Family Settlement Trust (the

                            14   “Trust”), a Qualified Settlement Fund under 26 C.F.R. § 1.468B-1(c) of the Treasury Regulations

                            15   promulgated under Section 468B of the Internal Revenue Code of 1986, and established by the Eastern

                            16   Point Trust Company. Plaintiffs’ intend, subject to Court approval, to place E.L.’s $65,000 in net

                            17   settlement proceeds from the County Defendants in that Trust, where the funds will be held, segregated,

                            18   managed, and invested on E.L.’s behalf, with no distribution or benefits to anyone, except E.L. when she

                            19   reaches eighteen (18) and is granted access at that time.” ECF No. 110, 10:11-18.
                            20          While the language requested does employ the terms “grown,” “managed, and invested,” E.L.’s

                            21   motion failed to specify the annuity she sought to fund, which was the plan her and her family worked

                            22   out with her investment advisors beforehand. See Maxwell Decl. ¶¶ 4-8; Long Decl. ¶¶ 4-7. That was in

                            23   error and is correctable under Federal Rules of Civil Procedure, rule 60(b)(1).

                            24                  C.     There Is Good Cause To Grant This Motion, As The Orders Sought Will

                            25                         Benefit E.L. And Protect Her Settlement

                            26          There is good cause to allow E.L.’s funds to be invested in an annuity for her benefit. The
                            27   company that will issue the proposed annuity, Independent Life Insurance Company, is rated “A” by

                            28   Egan-Jones Ratings Company and is partially reinsured by Hannover Life Reassurance Company of
                                                                               4
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                            1    America, rated “A+, XV” by A.M. Best.

                            2           The scheduled payouts to E.L. will begin after she reaches 18 and, under the proposed annuity,

                            3    are anticipated to total between $92,061 to $109,387. Thus, it is in E.L.’s financial interests to invest her

                            4    $65,000 into the proposed annuity. Her funds will grow with a respectable well-established insurance

                            5    company, which is reinsured by another respectable well-established insurer. If this proposed order is not

                            6    granted, her $65,000 might simply sit in the Long Family Settlement Fund without any growth until she

                            7    reaches 18.

                            8           Ms. Long, as guardian ad litem for E.L. strongly supports this investment for her daughter. See

                            9    concurrently filed Declaration of Jessica Long.

                            10                  D.      There Is No Prejudice To Any Other Party

                            11          The order sought by this motion impacts no other party to this case. While the County Defendants
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                            12   paid the settlement funds subject to this motion, those defendants were already dismissed from this case

                            13   and whatever E.L. does with her settlement funds has no impact on them. Similarly, whether or not E.L.’s

                            14   settlement proceeds are used to fund an annuity for her benefit has no impact on the Remaining

                            15   Defendants.

                            16                  E.      E.L. Has Been Diligent In Seeking Relief

                            17          Regarding the factor of delay, E.L. has not delayed and has been diligent in seeking relief. The

                            18   County Defendants delivered the settlement funds at issue on or about November 18, 2024. See

                            19   Declaration of Bryce Maxwell. At the end of November, the firm that helped Plaintiffs establish the Long
                            20   Family Settlement Trust realized it could not facilitate the annuity as planned. See Maxwell Decl. ¶¶ 9-

                            21   11. That firm apprised E.L.’s attorneys of record that ECF No. 113 precluded transfer of the funds into

                            22   the annuity. But, on account of workload, including (1) significant briefing in this case with the

                            23   Remaining Defendants for summary judgements, oppositions, and replies due between November and

                            24   December 2024, (2) preplanned holiday matters with family, and (3) matters in other cases, E.L.’s

                            25   attorneys did not request relief sooner. Nonetheless, essentially only two months has passed since the

                            26   settlement funds were delivered so E.L. has not delayed.
                            27                  F.      E.L.’s Actions Are In Good Faith

                            28          The final consideration under Federal Rule of Civil Procedure 60(b)(1) is good faith. See Laurino
                                                                                5
                                                       PLAINTIFFS’ MOTION TO MODIFY COURT ORDER (ECF No. 113)
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                            1    v. Syringa General Hosp., 279 F3d 750, 753 (9th Cir. 2002). E.L.’s original motion (ECF No. 110) sought

                            2    permission to invest the funds believing, in good faith, that her request as framed would be sufficient.

                            3    The resulting order, however, was too restrictive for the insurer for the annuity. There is no evidence of

                            4    bad faith or ulterior purpose to this motion.

                            5    V.     ALTERNATIVELY, E.L. SIMPLY REQUESTS AN ORDER ALLOWING HER

                            6           SETTLEMENT TO FUND THE PROPOSED ANNUITY

                            7           If this Court does not wish to amend its prior order, Plaintiff E.L. requests, in the alternative, that

                            8    the Court simply authorize that E.L.’s settlement of $65,000 may be used to fund the annuity from

                            9    Independent Life Insurance Company, referenced in Exhibit A to the concurrently filed Declaration of

                            10   Bryce Maxwell.

                            11   VI.    CONCLUSION
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                            12          For the foregoing reasons, Plaintiffs request this Court modify its prior order (ECF No. 113), or

                            13   otherwise issue a new order, allowing the Long Family Settlement Trust to use E.L.’s settlement proceeds

                            14   of $65,000 to fund an annuity policy from Independent Life Insurance Company, referenced in Exhibit

                            15   A to the concurrently filed Declaration of Bryce Maxwell.

                            16

                            17
                                                                                 ADVANCING LAW FOR ANIMALS
                            18

                            19   Dated: February 6, 2025                         By:    /s/Vanessa Shakib
                                                                                 Ryan Gordon
                            20                                                   Vanessa Shakib
                                                                                 Attorneys for Plaintiffs
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